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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

CHRISTOPHER JEROME, an individual,
LEO JEROME, an individual, and STORY
COMPANIES, LLC, a Michigan limited
liability company,
Case No. l:l6-cv-Ol l 16
Plaintiffs,
Hon. Janet T. Neff
v.

JOEL FERGUSGN, an individual, VIRGIL
BERNERO, the Mayor of the City of Lansing,
in his individual capacity, LANSING
ECONOMIC AREA PARTNERSHIP, INC., a
Michigan non-profit corporation, ROBERT L.
TREZISE, JR., an individual, CLARK
CONSTRUCTION SERVICES, LLC, a
Michigan limited liability company,
CHARLES CLARK, an individual, FRANK
KASS, an individual, CONTINENTAL
DEVELOPMENT, INC., an Ohio corporation,
HALLMARK CAMPUS COMMUNITIES, an
Ohio partnership, FERGUSON
DEVELOPMENT, LLC, a Michigan limited
liability company, CHRISTOPHER
STRALKOWSKI, an individual,
FERGUSON/CONTINENTAL LANSING,
LLC, a Delaware limited liability company,
and RED CEDAR INVESTOR, LLC, a
Michigan limited liability company,

Defendants.

 

STlPULAT|ON REGARD|NG EXH|B|TS TO DEFENDANTS’ UNIF|ED
MOT|ON TO DlSM|SS

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The parties, by counsel, hereby stipulate as to authenticity of the documents attached
hereto as Exhibits l, 2, 3, and 41 for purposes of the above-referenced Motion to Dismiss.
Counsel for Plaintiffs:

/s/ Michael A. Cox (P43039)

Michael A. Cox (P43039)

Attomeys for Plaintiffs

17430 Laurel Park Drive North, Suite 120E
Livonia, MI 48152

(734) 591-4002

mc@mikecoxlaw.com

Counsel for Defendants:

/s/ Dean F. Paciiic ,
Dean F. Pacific (P57086) t j 4 ,,,,,,
Jeffrey W. Bracken (P25648) aanilerSchWartZandohnLLP
Thomas M. Amon (P72351) ' '
WARNER NORCROSS & JUDD LLP
900 Fifth Third Center

lll Lyon Street, N.W.

Grand Rapids, Michigan 49503-2487

    
  

616.752.2000 Attorneysfor Joel Ferguson, Ferguson
Attorneys for Lansing Economic Area Development, LLC, Christopher Slralkowski,
Partnership and Trezz'se, and Red Cedar Investor, LLC

/s/ Patrick A. F acca /_s/ Todd J. Ohlms

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P dwme

   

 

1 Although Defendants stipulate to the authenticity of Exhibit 4 for purposes of this Motion,
Defendants do not stipulate to its relevance. As further explained in Defendants’ Unified Reply,
Defendants’ position is that Exhibit 4 cannot be considered in the context of the lZ(b)(6) Motion,
and its contents do nothing to save Plaintiffs from dismissal in the context of the lZ(b)(l)
motion.

Plaintiffs attached three (3) unpublished cases as Exhibits 5 through 7 for courtesy purposes
only, and thus, no stipulation is required for these three exhibits

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/s/ David Kr`_Otis

 

Attorneysfor Virgll Bernero

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